         Case 1:24-cv-01344-CBA-SJB Document 5 Filed 02/26/24 Page 1 of 2 PageID #: 29

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

               Dritan Gega and Drijan Gega                              )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                          Civil Action No. 24-cv-1344
                                                                        )
 La France, LLC, Trusdale Properties Corp., Subba                       )
          Reddy and Chittemma Reddy                                     )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           See Attached Rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           William Brown, Esq.
                                           Brown Kwon & Lam, LLP
                                           521 5th Avenue, 17th Floor
                                           New York, New York 10175


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:      2/26/2024                                                            s/Erica Fernandez
                                                                                          Signature of Clerk or Deputy Clerk
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TO:   LA FRANCE, LLC
      12A Commercial Street
      Hicksville, NY 11801

      TRUSDALE PROPERTIES CORP
      5 Trusdale Drive
      Old Westbury, New York 11568

      SUBBA REDDY
      5 Trusdale Drive
      Old Westbury, New York 11568

      CHITTEMMA REDDY
      5 Trusdale Drive
      Old Westbury, New York 11568
